             Case 5:04-cv-01604-F Document 254 Filed 08/26/08 Page 1 of 1

                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF OKLAHOMA

MARQUIS FURNITURE, INC., an
Oklahoma corporation,
                      Plaintiff,
v.                                                      Case No. CIV-04-1604-F

MATHIS BROS. FURNITURE CO. INC. an
Oklahoma corporation, et al
                            Defendants.

BROYHILL FURNITURE INDUSTRIES,
INC.,
               Counter-Claimant,
v.

MARQUIS FURNITURE, INC., an
Oklahoma Corporation

                           Counter-Defendant,
and

GARY D. BAUGH and MARY BAUGH

                        Third Party Defendants.

                                       ORDER OF DISMISSAL

                     The court, having reviewed the Stipulation of and Request for Dismissal of

La-Z-Boy, Inc. With Prejudice, and having been advised by counsel for defendant

La-Z-Boy, Inc. that La-Z-Boy, Inc. has no objection to the dismissal, finds that defendant

La-Z-Boy, Inc. should be dismissed from this action with prejudice to refiling.

                     IT IS THEREFORE ORDERED that La-Z-Boy, Inc. is hereby dismissed

from the above-styled cause with prejudice to refiling.

                     Dated this 26th day of August, 2008.




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